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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
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      Plaintiff(s) appearing without attorney
      Attorney for Plaintiff(s)

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION                                     DIVISION

 In re:                                                                        CASE NO.: 6:19-bk-19414-SC

JACOB DORSTEN,                                                                 CHAPTER
                                                                               ADVERSARY NO.: 6:20-ap-01007-SC
                                                               Debtor(s).
HLS ofNevada, LLC d.b.a. Nevada West
Financial, a Nevada limited liability company,

                                                              Plaintiff(s),           REQUEST FOR CLERK TO ENTER
                                                                                       DEFAULT UNDER LBR 7055-1(a)
                                    vs.


 JACOB DORSTEN, an individual,

                                                                                                     [No Hearing Required]
                                                           Defendant(s).

TO THE DEFENDANT, DEFENDANT’S ATTORNEY AND OTHER INTERESTED PARTIES:
1. Name of Defendant against whom default is sought (specify name): Jacob Dorsten
2. Plaintiff filed the complaint in this adversary proceeding on (specify date): 01/23/2020
3. The summons and complaint were served on Defendant by                               Personal Service             Mail Service
   on the following date (specify date): 01/27/2020
4. A conformed copy of the executed service of summons form is attached hereto.
5. The time for filing an answer or other responsive pleading expired on (specify date): 02/24/2020
6. No answer or other responsive pleading has been filed or served by Defendant.
WHEREFORE, Plaintiff requests that the clerk of the court enter a default against this Defendant.


Date: 03/02/2020                                                          /s/ Nathan F. Smith
                                                                       Signature
                                                                          Nathan F. Smith
                                                                       Printed name of Plaintiff or attorney for Plaintiff
           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 2112 Busines Center Drive, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: REQUEST FOR CLERK TO ENTER DEFAULT UNDER
LBR 7055-1(a) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 03/02/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
  Nathan F Smith nathan@mclaw.org, CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com;
  cvalenzuela@mclaw.org             Steven M Speier (TR) lmorvant@glassratner.com, sms@trustesolutions.net,
  sspeier@glassratner.com,C183@ecfcbis.com
  United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 03/02/2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
 Jacob Dorsten
 28066 Lindell Rd
 Lake Elsinore, CA 92532-7315


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 03/02/2020         Christina Valenzuela                                              /s/ Christina Valenzuela
 Date                       Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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